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                                                         Page 1
          IN THE UNITED STATES DISTRICT COURT

             EASTERN DISTRICT OF PENNSYLVANIA

                         - - -

   THOMAS REILLY,                :   NO. 17-2045

                   Plaintiff,    :

             vs.                 :

   GLAXOSMITHKLINE, LLC,         :

                   Defendant.    :

                       - - -
             Friday, January 18, 2019
                       - - -

        DISCOVERY DEPOSITION of HENRY BOLTON, taken at

   Reed Smith, LLP, Three Logan Square, 1717 Arch

   Street, Suite 3100, Conference Room D,

   Philadelphia, Pennsylvania, commencing at 1:04

   p.m., before Gina E. Scheetz, Registered Merit

   Reporter, Certified Realtime Reporter, a New Jersey

   Certified Court Reporter, a Delaware Certified

   Court Reporter, Certified LiveNote Reporter,

   Licensed CaseViewNet Realtime Provider, an iCVNet

   Certified Reporter and Notary Public.

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                                                          Page 2
 1   COUNSEL APPEARED AS FOLLOWS:
 2           POLLINS LAW
             BY: SCOTT POLLINS, ESQUIRE
 3           303 West Lancaster Avenue
             Suite 1C
 4           Wayne, Pennsylvania 19087
             610.896.9909
 5           E-mail: scott@pollinslaw.com
                      tashell@pollinslaw.com
 6             Representing the Plaintiff
 7
                 REED SMITH, LLP
 8               BY: BETTY S. W. GRAUMLICH, ESQUIRE
                 BY: ANNE E. ROLLINS, ESQUIRE
 9               Riverfront Plaza - West Tower
                 901 East Byrd Street
10               Suite 1900
                 Richmond, Virginia 23219-4068
11               804.344.3456
                 E-mail: bgraumlich@reedsmith.com
12                        arollins@reedsmith.com
                   Representing the Defendant
13
                              - - -
14
     ALSO PRESENT:
15
                 ELIZABETH FEENEY,
16                 GlaxoSmithKline, LLC
17               THOMAS REILLY
18                         - - -
19
20
21
22
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24


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                                                          Page 3
1                         I N D E X
2    WITNESS                                             PAGE
3    HENRY BOLTON
4         By Mr. Pollins                                 5
5                           - - -
6                     E X H I B I T S
7                           - - -
8    NUMBER               DESCRIPTION                    MARKED
9    GSK 55          E-mail String, 4 pages              88
10   GSK 56          2-page Document                     92
11   GSK 57          Document entitled                   98
                     "Notes from mtg of
12                   6 May.txt"
13   GSK 58          Document entitled                   101
                     "iSeries/AS400
14                   Outsourcing," Confidential
15   GSK 59          Document entitled "Risk             105
                     Assessment of iSeries
16                   Remote Support,"
                     Confidential
17
     GSK 60          3-page Document                     115
18
     GSK 61          Document dated 3/9/15               121
19
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1                                - - -
2                   DEPOSITION SUPPORT INDEX
3                                  - - -
4     Direction to Witness Not to Answer
5     Page Line         Page Line               Page Line
6     None
7
8     Request for Production of Documents
9     Page Line         Page Line               Page Line
10    None
11
12    Stipulations
13    Page Line         Page Line               Page Line
14    None
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16    Question Marked
17    Page Line         Page Line               Page Line
18    None
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1                      - - -
2                      HENRY BOLTON, having been duly
3             sworn, was examined as follows:
4                      - - -
5                      MADAM REPORTER:        And the
6             witness will read and sign; correct?
7                      MS. ROLLINS:       Yes.
8                      THE COURT REPORTER:          Thank
9             you.
10   BY MR. POLLINS:
11            Q        Please state your full name.
12            A        Henry Jacob Bolton.
13            Q        And, Mr. Bolton, you live in
14   the U.K.?
15            A        I do.
16            Q        We're here today for something
17   called a deposition.         Have you ever done a
18   deposition before?
19            A        I have not.
20            Q        What I'm gonna be doing is I'm
21   gonna be asking you a series of questions.
22   You're going to give answers.
23                     If I ask you a question and
24   you don't hear what I say, let me know and


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                                                         Page 12
1             A        I don't think you could see
2    them all, no.
3             Q        Okay.     What was the job that
4    you had before Director of Service Delivery?
5             A        So I think it would have been
6    leading the AS/400 team and -- yeah, I think
7    that's right.
8             Q        How long were you leading the
9    AS/400 team for?
10            A        Jo departed, I believe, around
11   about March of '14, 2014, and then returned
12   about a year later.         I think maybe a touch
13   less than that I think I transitioned out in
14   maybe February of '15.          My memory isn't
15   necessarily gonna give us exact dates, but
16   it's something like that.
17            Q        What were you doing before you
18   were leading the AS/400 team?
19            A        I can't recall exactly.
20            Q        What's your highest level of
21   education?
22            A        A degree.
23            Q        In what discipline?
24            A        Economics.


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 1   happening, did it?
 2             A        It happened in some cases.
 3             Q        Okay.
 4             A        It didn't happen everywhere.
 5   Business priorities moved around.
 6             Q        All right.       By the time you
 7   signed this, Blue Chip was already the
 8   winner of the outsourcing; correct?
 9             A        That would have been correct.
10   This was signed in June, wasn't it?
11   (Reviewing.)       Yeah.     So, yes.
12             Q        Above the rationale for the
13   proposal part that I asked you to read, it
14   says, "The finance systems are subject to
15   Sarbanes-Oxley regulations."
16                      Do you see that?
17             A        I do.
18             Q        The finance systems would
19   include the AS/400s that were running the
20   financial systems servers; correct?
21             A        Yes.
22             Q        Okay.
23                      MR. POLLINS:        GSK 60.
24                      MADAM REPORTER:         Sure.


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